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 DOCKET NUMBER: 23-cr-113 (RPK)

                    CRIMINAL CAUSE FOR USA v. Sherilyn Pellitteri

 BEFORE CHERYL L. POLLAK, U.S.M.J.                DATE:      4/3/2023      TIME IN COURT: ~ 1hr

 DEFENDANT’S NAME: Sherilyn Pellitteri
 X   Present               Not Present                             Custody        X      Not Custody

 DEFENSE COUNSEL:             Michael Weil
 X   Federal Defender               CJA                 Retained

 A.U.S.A.: Patrick J. Campbell                       PRETRIAL/PROBATION: Robert Long

     COURT REPORTER              X ESR OPERATOR            Mollie Krent               LOG: 2:13-3:14

 INTERPRETER: n/a                                            LANGUAGE: n/a

 X    Arraignment                                            Revocation of Probation – non-contested
 X    Change of Plea Hearing (~Util-Plea Entered)            Revocation of Probation – contested
      In Chambers Conference                                 Sentencing – non-evidentiary
      Pre-Trial Conference                                   Sentencing – contested
      Initial Appearance                                     Revocation of Supervised Rel. – evidentiary
      Status Conference                                      Revocation of Supervised Rel. – non-evidentiary
      Telephone Conference                                   Voir Dire Begun
      Jury Selection                                         Voir Dire Held
      Motion Hearing – evidentiary
      Other Hearing:

 X    Case called
 X    Defendant:                Sworn X                 Informed of Rights X
 X    Defendant consents to have plea taken by a U.S. Magistrate Judge after being advised of the right to
      have the plea taken before a U.S. District Judge.
 X    Waiver of Indictment Executed
 X    Defendant Withdraws Not Guilty Plea and Enters Plea of Guilty as Stated on the Record
 X    Court Finds Factual Basis for the Plea
 X    Sentencing Set for:      10/3/2023 @ 2 PM
 X    Based on the proceedings held in open court, it is respectfully recommended that the Court: (1) find
      that the plea of guilty was made knowingly, and is voluntary and uncoerced; (2) find that there is a
      factual basis for the plea; and (3) accept the plea.
      Order of Excludable Delay Entered:        From                      To
      Order of Temporary Detention Entered

                                                     TEXT
Case Called. Defendant present with defense counsel Federal Defender Michael Weil. AUSA Patrick J.
Campbell was present for the government; Pretrial Officer Robert Long was present. Defendant consented to
Magistrate Judge Pollak’s jurisdiction. Defendant sworn and informed of rights. Defendant was arraigned on
the Information and waived her right to an indictment. Defendant pleaded guilty to the information on the
charge of Conspiracy to Defraud the United States Department of Health and Human Services. Judge Pollak
issued Rule 5 warnings. Judge Pollak will issue a written order describing the Rule 5 obligations. Judge Pollak
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entered an Order Setting Conditions of Release and Appearance Bond. Judge Pollak recommends that Judge
Kovner accept the plea. The sentencing will be set for October 3, 2023 at 2 PM before Judge Kovner.
 UTILITIES
 X    ~Util-Plea Entered                                 ~Util-Add/Terminate Attorneys
      ~Util-Exparte Matter                               ~Util-Terminate Parties
      ~Util-Set/Reset Deadlines                          ~Util-Indictment Unsealed
      ~Util-Set/Reset Hearings                           ~Util-Information Unsealed
      ~Util-Set/Reset Deadlines/Hearings           X     ~Util-Bond Set/Reset
      ~Util-Terminate Motions                            ~Util-Set/Reset Mot./R&R Deadlines/Hearings
